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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                     8:19CR108
       vs.
                                                          NOTICE OF SUBSTITUTION
                                                               OF COUNSEL
VINCENT J. PALERMO,

                      Defendant.


       The United States hereby notifies the Court of the substitution of Sean P. Lynch,

Assistant United States Attorney, as counsel for the United States in the above-captioned case,

replacing Lesley A. Woods, who is no longer assigned to this case.

       Please direct all future pleadings and correspondence to the undersigned.


                                             UNITED STATES OF AMERICA, Plaintiff

                                             Sincerely,



                                             SUSAN LEHR
                                             Acting United States Attorney
                                             District of Nebraska




                                     By:     s/ Sean P. Lynch
                                             SEAN P. LYNCH, #25275
                                             Assistant U.S. Attorney
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 14, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to all registered
participants.
                                                   s/ Sean P. Lynch
                                                   Assistant U.S. Attorney




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